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              5                                                              QIRKBSD'SR C O D''''
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              6                             U N ITED STATES D ISTR IW COU R T
                                                   D ISTR IW Or N EVA DA
              7                                                                                               .
              8                                      .
                   SI-IAW N VAN M DALE,anindiddpal, )              3:o4-cv-oo7o3-RAM
               9 and LENA VAN ASDALE,an indivldual )
                            Plaintiffs,            )
              10                                   )               M EM ORANDUM DECISION AND
                       vs.                         )               ORDER
              11                                   )
                 INTERNATIONM GAME ,               )                                           ''
              12 TECHNOLOGY,aNevadacorporation, )
                                                   )
              13            Defendant.             )
              14        Before the courtis Plaintiffs'M otion forAttorneys'Fees,Costs,and Prejudgment
              15 Interest. (Sec Doc.# 323-327.  ), Defendantopposed (Doc.#339),and Plaintiffs replied '
              16                          '               D #3sz), Plaintiffs supplem ented theirm otion. 1
                 (Doc.#344). Atthe courts request(see oc.
              17 (Doc.#352.  ) Defendantfiled aresponsetothesupplem ent(Doc.#353)and Plaintiffsm ove
              18 tostriketheresponse(Doc.#354).Afterathoroughreview,thecourtgrantsPlaintiffs'Motion
              l9 forAttorneys'Fees,Costs,andPrejudgmentlnteresttDoc.#323),asoutlinedbelow.Thecourt
              20
                       deniesPlaintiffs'M otiontoStrike(Doc.#354).
              2l
                             1. BA CKG R O U N D
              22              PlaintiffsShawnVanM daleand LenaVan M dale(Plaintiffs),husbandand wife,are
              23        form ercorporatecounselforDefendantInternationalGam eTechnology,aNevadacorporation
              24                                                                                     .ing,
                        (IGT).(P1s.'Compl.(Doc.#3).) IGT specializesinthedesign,development,manufactur
              25                                                                           '
                        distributionand saleofcomputerizèd gam ingmachinesand systemsproducts.(IGT'sM ot.
              26        forsumm .l.(Doc.#173)6.)PlaintiffssledtheirCom plaintagainstIGTOnDecem ber1,2004,
              27         .                                .
              28             l     Referste court'sdocketnumber.
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         l    assertingaclaim forwhistleblowerprotection reliefundertheSarbanes-oxleyAct,18 U .S.C.
         2 j 1514A (SOX),and state 1aw claimsfortortiousdiscbarge,intentionalintederence with
         3 contractualrelations,retaliation,andintentionalinflictionofemotionaldistress.(Doc.#3.)
         4    PriortofilingtheCom plaintindistlictcourt,Plainifsfledandvoluntarilydism issedaform al

         5 complaintbeforetheSecretaryofIxabor.(Doc.# 3 at!60.)
         6         IGT fleda motionforsumm aryjudgmentonNovember22,2006.(Doc.# 173.) 0n
         7 June13,2007,thecourtgrantedsumm aryjudgm entastoPlaintiffs'SOX claim ,anddeclinçd
         8 to retainjurisdictionovertheremainingstate1aw claim s.(Doc.# 197.) Plaintiffsappealed,
         9    and the United StatesCourtofAppealsforthe Ninth Circuitissued an opinion finding that
         10    Plaintiffs raised a genuine issue ofm aterialfactregarding the cause oftheirterm inations.
         ll (Doc.#212,220.)TheNinthCircuitreversedthegrantofsummaryjudgmentastotheSOX
         I2    claim ,vacated dism issalofthestatelaw claim s,and rem anded them attertothedistrictcouz't
         I3 toaddress,intheirstinstance,IGT'Sm otionforsummaryjudgmentastothestatelaw claims.
         14 (Doc.# 220.) 0n remand,thecourtissued an ordergranting summaryjudgmentasto
         l5 Plaintiffs'statelaw claimsandden/ngsummaryjudgmentastoapplication oftheafter-
         l6 acquired evidencedoctrine.(Doc.# 235.)
         l7        Ajurytrialwasheld,andaverdictwasreturned infavorofPlaintiffs,awardingacm al
         l8 dam agesintheam ountof$955,597t0ShawnvanM daleand $1,270,303t0LenavanM dale.
         19 (Doc.# 316-317.)2Judgm entwasentered On Febnlaly 9,2011.(DOc.# 321.)Plaintiffsfiled
         20 theinstantMotionforAttorneyFees,Costs,andPrejudgmentInterestonFebruary17,2011,
         21    and 1GT opposed.
         22                                     II. LEGA L STAN DA R D
         23           Sox includesprotecuonforwhistleblowerem ployeesofpublicly-tradedcom panieswho
         24 àavesufferedadverse-employmentactionforreportingorcooperatingintheinvestigationof
         25
         26          2      ThecourtinitiallygrantedIGT'SmotiontostrikePlaintiffs'jurydemand,butgrantedPlaintiffs'
               renewedjurydemandaftersoxwasamendedtoaddtherighttoajurytrial.18U.s.c.j1514A(b)(2)(E).çsee
         21 ooc, #246,268,271-:74.)
         28                                                   2                                         .
                                                                                                            ;

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          1    corporatefraud orviolations ofSecuritiesand Exchange Com m ission rulesorregulations.
          2 18 U.S.C.j1514A(a).A whistleblowertm der18 U.S.C.b1514A hastwo optionsforseeking
          3 relief:(1)fleacom plaintwiththeSecretaryofIaabor;or(2)iftheSecretaryhasnotissued a
          4 finaldecisionwithin 18o days,bringanactioninthèdistrictcoul'
                                                                       t.18 U.S.C.û1514A(b)(1).
          5           ''Anem ployeeprevailingin any action undersubsection (19(1)shallbeentitled to a1l
          6 reliefnecessarytomaketheemployeewhole.''18U.S.C.!1514A(c).Thisreliefffshallinclude--
          7 (A)reinstatementuith thesam esenioritystatusthattheem ployeewouldhavehad,butfor
          8 thediscrimination;(B)theam ountofbackpay,with interest;and (C)com pensationforany
          9     specialdam agessustained asa resultofthediscrim înation)includinglitigation costs,expel
          10    witnessfees,and reasonable attorney fees.''1d.
          l1          Once a party hasestablished thatitisentitled to an award ofattorney'sfees,''Eilt
.
          12    rem ainsforthedistrictcourtto determ inewhatfeeis'reasonable.'''H enslevv.kkkerhart,461
          l3 U.S.424,433(1983).Underfederallaw,reasonableattorne/sfeesaregenerallybasedonthe
          14    traditionalNodestar''calculation setforth in H ensley.SeeFfscàcrl7.SJB-P.D .Inc.,214 F.3d   '
          15    1z15,1119(9t.hCir.aooo).First,thecoud mustdeterm ineareasonablefeebymultipl/ng'tthe
                                                                                                            1
                                                                                                       r
          16    num ber of hours reasonably expended on the litigation''by ''a reasonable hourly rate.'     2
          17 Senslep,46IU.S.at433.Second,thecourtmustdecidewheiertoadjrtielodestaramount '
          l8    based on anevaluation ofthefactorsarticulatedinrerr1J.ScreenExtrasGuild,Inc.,526F.2d
          19 67,7o(9thCir.1975),whichhavenotbeensubsum edinthelodestarcalculation.SeeFischer, '
          20 214 F.3dat1119(citation omitled).
          21           The Kerr factorsare:
          22                 (llthetim eandlaborrequired,(zlthenoveltyanddië cultyofthe
          23                 q
                             seu
                               lest
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                                   eonsoi
                                     pr nvroll
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                                                                                        etjtel
                             attorneyduetoacceptanceofthecase,(5)thecustomaryfee,(6)
          24                 whetherthefeeisfxedorcontingent,(7)timelimitationsimposed
                             bytheclientorothercircum stances,(8)theamountinvolvedand
          25                  theresultsobtainedJ(W theexperience,reputation,andabilityof
                              theattorneysy(10)the''undesirability''ofthecase,(11)thenature                 ,
          26                  andleno qftheprofessionalrelationshipwiththeclient,and(12)
                              awardsln slm ilarcases.
          27
          28                                                3
               Case 3:04-cv-00703-RAM    Document 356     Filed 05/24/11   Page 4 of 35
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          1 Kerr,526 F.2d ctzo. Facrors one throughhve have'been subsumed in the lodestar
          2 calculation.SeeM oralesl2.L-'
                                        ft'
                                          pofsanRafael,96F.3d359,364n.9(9thCir.1996)(citations
          3 omitted).Ful-ther,theNinthCircuit,extending CityofBurlingtonl?.Dague,5o5U.S.557,
          4    567 (1992),held tbatthesixth factor,whetherthe fee is flxed orcontingent,m ay notbe
          5 consideredinthelodestarcalculation.SeeDavisv.L''ftptortibunrl/sy'd/nFrancisco,976F.2d
          6 1536,1549(9th Cir.1992),vacatedinparton othergrounds,984 F.2d345(9th Cir.1993).
          7    Thereisastrongpresum ption thatthelodestarfigure representsareasonable fee.Jordan v.
          8 M ultnomahCounty,815F.2d1258,1262(9thCir.1987)(internalcitationsomitted).However,
          9     upon considering the relevantKerrfactorsthatm ay bearon reasonableness,the courtm ay
          10 adjusttheawardfrom thelodestarfigure.Ballenu.L'NrpofRedmond,466F.3d736)746(9th
          11 Cir.2006).OnlyinrareinstancesshouldthelodestarGgurebeadjustedonthebasisofthese
          12 considerations.1d.(citationsomitted).TfDistrictcourtsEalso)possessthenecessarydiscretion
          13 to adjustthe amountsawarded to addressexcessiveand unnecessary effortexpended in a
          14 m annernotjustisedbythecase.'fd.
          15                                    111. D ISCU SSIO N
          16    A . AT TO R N EYS'FEES
          l7          1.   A m ountR equested
          18          P1aintiffsrequestatotalof$1,237,956inattorne'ys'fees.(SeeDoc.# 3522.)lGT
          l9    challengesthe am ountofPlaintiffs'requeston variousgrounds,each ofwhich isdiscussed

          20    below .
          2l          2.   R easonable R ate & K err Factors
                                          .



          22          Plaintiffsassertthatareasonablehourly ratein thiscaseis$450 forattorneysand
          23    $120 forparalegals.(Doc.# 3233.) lGT arguesthatPlaintiffs'counselcustom arilycharge
          24 $185 perhourforattorneysenricesand $9Oforparalegalservices.(Doc.# 339 7-8,Ex.8-
          25    9.)
          26          In calculating the lodestar Ggure,reasonable hourly rates are determ ined by the
          27    ''prevailing m arketratesin the relevantcom m unitp '' Blum u. Slcnson,46s U.S.886,895

          28                                             4
               Case 3:04-cv-00703-RAM      Document 356        Filed 05/24/11   Page 5 of 35
     ;'
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          1 (1984)9seealsoSorensonu.M ink,239F.3d1140,1145(9th Cir.2001).Grl'heburdenisonthe
          2    plaintiffto produceevidencethatthe requested ratesarein linewith those prevailing in the
          3    com m unity forsim ilarsenricesby lawyers ofreasonably com parable skill,experience,and
          4 reputation.''Sorcnson)239F.gdat114s(internalquotationsandcitationomitted).GAffidavit.s
          5    oftheplaintiffs'attorney and otherattorneysregarding prevailingfeesin thecom m unity,and
          6    ratedeterm inationsin othercases,particularlythosesettinga ratefortheplaintiffs'attorney,
          7 aresatisfactoryevidenceoftheprevailingmarketrate.''UnitedsteelworkersofAm .u.Phelps
          8 DodgeCorp.,896 F.2d 403,4O7 (9th Cir.1990)(citationsomitted). W he defendantmay
          9    introducerebuttalevidencein supportofa low erhourly rate.''Sorenson,239 F.3d at1145.
          10    Ifthefeeapplicanthasnotm etitsburden ofestablishingthereasonablenessoftherequested
          11 rates,thecourtm aydeterminetheratebased on itsexperienceand knowledgeofprevailing
          12    ratesin the com m unity. See,c.g.,Badem yan l?.ReceivableM grrlt.Servs.Corp.,2009 W L
          13 605789 at*5(C.D.Cal.2009).
          14          Plaindfssubm itdeclarationsfrom Graham Galloway,Esq.,John Echeverria,Esq.,and
          l5 W illiam Jeanney,Liq.(Doc.#323EX.2-4.)EachOftheseattorneyshasm orethantwenty-five               '
          16 yearsOfexperiencerepresentingplaintiffs,andeachconsrms$450isareasonablehourlyrate               '
                                                           .                                                 i
          l7 foranattorneyinthiscomm unitywithMs.Piscevich'sexperience.(fd.)Plaintiffsalsosubmit I
          18 thedeclarationsofcounsel,Ms.Piscevich andM r.Lenz.(Doc.#323 Ex.5-6.)M s.Piscevich '
          19 hasforiyyearsoflitigationexperience.(Doc.# 323Ex.5at!1.)M r.Lenzhasnineteenyears                ,
          20 oflitigation experience.(Doc.#323Ex.6 at14.)                                                    F
                                                                                                             '
          2l          Torebuttherequested rate,first,IGrrprovidesPlaintiffs'm otiontoretaxcost.
                                                                                              sandfees
          22    incurred in connection with IGT'Sm otion forterm inating sanctions,whqrein Plaintiffsargue
          23 that $250 to $350 is a reasonable hourly rate fora business litigation attorney in this         .
          24 com munity.(Doc.#339Ex.7a13:14-22.)Second,IGTprovidesdeclarationsofMs.Piscevich
          25    andM r.Lenz,Gledinunrelatedactions,asseltinghourlyratesof$185t0 $175forattorneys,
          26 and $8sto $95forparalegals.(Doc.# 339Ex.8at!7,Ex.9at!9.)Third,IGT alsosubm its
          27
          28                                                   5
               Case 3:04-cv-00703-RAM      Document 356       Filed 05/24/11   Page 6 of 35
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          1 affdavitsofvariousemploymentattorneysinunrelatedactions,withhourlyratesof$320to
          2    $325.(Doc.# 339 Ex.10.)                                                           .
          3           The court'
                               linds the declarations subm itted by M r.Gallow ay,M r.Echeverria,and
          4    M r.leanney,aresufficienttoestablishthat$450isareasonablehourlyrateforM s.Piscevich,
          5 an attorney with forty yearsoflitigation experience. (See Doc.# 323 Ex.2-4.)The $185
          6    attorneyrateand $9oparalegalratesuggestedbyIGT areM s.Piscevich'snegotiatedratesfor
          7 medicalm alpracticedefenseactions.(Doc.# 3445.)Theprevailingrateanattorneycharges
          8    m ayvary based on thenatureofthecase,and itisnotsurprisingthattheratewouldbehigher
          9     in anaction involvingan em ploym entdispute,thaninam edicalm alpracticeorotherinsurance
          10   defensem atterwith a negotiated rate.Thecourtrecognizesthatthe declarationssubm itted
          ll   by IGT arefrom well-respected and seasoned litigators,butthey do nothavethefortyyears
          12 oflitigationexperienceatlributedtoMs.Piscevichwhichjus*festheincreasefrom the$320-
          13    $325theycom m andtothe$450 raterequestedby Ms.Piscevich.
          14          ThecourtdoesnotbelievePlaintiffsmettheirburden ofestablishingthat$450 isa
                                                          '
          l5 reasonablehourlyrateforM rLenz.ThecourtrecognizesthatMr.Lenzisanexperiencedané
                                            .


          16    skilled litigator,andwhileM s.Piscevich m aintainsthatM r.Lenzisbilled outatan hourlyrate    j
          l7    identicalto hers,M s.Piscevich hasforty yearsoftrialexperience ascom pared to M r.Lenz's     l
                                                                                                             '
          l8 nineteenyears.(Doc.#323Ex.5at!1,Ex.6at!4.) lnaddition,thedeclarationssubmitted
          19    by attorneysin the com m unity in supportofPlaintiffs'm otion only reference the skilland
          20    experienceofMs.Piscevich,and notthatofM r.Lenz.(Doc.# 323Ex.2-4.) Plaintiffshave
          21    previouslyarguedthatareasonablehourlyrateforan experiencedlitigatorinthiscom m unity
          22 fallsintherangeof$250to$350.(Doc.#339Ex.7at3:14-22.) Accordingly,thecourtwill
          23    reduceM r.Lenz'shourlyrateto $350forpurposesofthelodestarcalculation.3
          24
          25         7      Plaintiff'
                                     s:continualreferencetothenumberoflawyersand otherprofessionalspresent
             in courtforthedefenseduring trial,and theirhourly rates,isnotrelevantto Plaintfj-'M otion for
          26 Atlorneys'Fees, Costs,andPrejudgmentInterest.(SeeDoc.#344at3,9,10,n.21,Doc.# 344-1at
             !(9.) Plaintiffs,asprevailingparty,havetheburdenofestablishing thereasonablenessofthehourly
          27 ratesand tim eexpended bythe'l
                                          'rcounsel.Defensecounsel'shourlyratesand hoursexpended on this
          28                                                  6
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                                                                   '
                                                                     %
                                                                        7 of 35




1           W ith respecttoM s.Fenner'stim e,Plaintiffsdid notGleanysuppodingdocum entation
2 concerningherexperienceandskilltosupportarateof$450.Thecoul'tconcludes$350 is
3 a reasonable hourly rate for M s.Fenner,based on it.
                                                     s knowledge ofprevailing ratesin the
4    com m unity.
5           Plaindffsdonotprovideanyevidencetosupporttherequestforanhourlyrateof$120
6    forparalegalwork.IGT subm itsdeclarationsofPlaintiffs'counselfrom otherm atterswhere
7     Plaintiffs'counselrequested arateof$85or$9oforparalegalworkin medicalmalpractice
8 actions.(Doc.#339Ex.8at$7,Ex.9at!19.)M noted above,thenegotiatedrateinm edical
9     m alpracticeactionsm ay differfrom theprevailing ratein an em ploym entm attersuch asthe
10    instantm atler.In fact,one ofthe declarationssubm itted byIGT in supportofitsopposition
11 retlect.
          s an hourly rate of$125 forparalegals.(Doc.# 339 Ex.10.) Therefore,the coul't
12 concludesthatthe$120hourlyrateforparalegalwork requestedbyPlaintiffsisreasonable.
13       lnsum,thecourtwillcalculatethelodestaram ountbased onhourlyratesof$450 for
14 M s.Piscevich,$350forM r.Lenzand M s.Fenner,and $120forparalegalwork.Accordingly,             '
15    thefeesrequested are initially reduced asfollows:
16    L aw yer/paralegal H ours                   Rate                  Total                    ;
17 piscevich                981.2                     $450              $441,540                 i
                                                                                                 r
18 Lenz                     1,531.7                   $350              $536,095
19 Fenner                   2o.lo                     $350              $7,035
20 Stark    '               7913
                               .                      $120              $94,956
   Hanrel                   1.2                       $120              $144                     '
21
   Chambers                 25.05                     $120              $3,006                   ,
22
   TOTAL:                                                               $1,082,776
23
            The nextissuethatconfront.
                                     sthe courtisthefactthatthiscasehasspanned in excess
24
      ofsixyears.TheNinth Circuithasheldthatthecourthasdiscretiontoapplytheratesin effect
25
      atthetim etheworkwaspedbrm ed)ortheratesin effectatthetim eofthefeeapplication,but
26
27 m auerare notatissue.
28                                                7
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1    hasfound itisan abuseofdiscretion toapplym arketratesineffectm orethan twoyearsbefore
2 theworkwasperform ed.SceBellI?.ClackamasCounty,341F.3d 858,86o (9th Cir.2003),
3 ascrnendcdtcitingfarpbnl7.Dalton,132F.3d496,5o2(9thCir.kgg7tjischwarzv.Sccrcrcr!/
4 OfHHS,73F.3d895,908-09(9thCir.1995));Gates1J.Deukmejian,987F.2d1392,1406(9th
5 Cir.1992).
6       PlaintifsliHgatedthiscasefornearlysevenyearsbeforeobtainingajuv verid ini eir
7    favor.Therefore,thecourtuillassessthefeesatthecurrentrate.SceGalcs,987F.2d at1406
8     (recognizing''districtcourtshavediscretiontocom pensateprevailingpartiesforanydelayin
9 thereceiptoffeesbyawardingfeesatcurrentratherthanhistoricratesinordertoadjustfor
10 intlationand lossoftheuseEoflf'undsnl.
11          Finally,thecourtw illaddresstherem ainingKerrfactorsnotsubsum ed inthelodestar
12    calculation in determ ining whetherto enhance orreducethelodestarfigure.rcrr,526 F.2d
l3    at 7o;Ffscàer,214 F.3d at 1119. W ith respect to the seventh Kcrr factor,Plaintiffs have
14    indicatedthattherewerenotimelim itationsimposed.(Doc.# 3235.)M totheeighthKerr
15    factor,theam ountinvolved and resultsobtained,Plaintiffspointoutthatthiscasespanned
16 nearlysevenyearsandresultedinaverdictintheirfavor.L1d.4Thecourtaddressedtheninth
17    Kerrfactor,the experience,reputation,and ability ofthe atlorneys,above.W ith respectto
18    the tenth Kerr factor,the T'undesirability''ofthe case,Plaintiffs indicate thiscase was not   .
19 undesirable. (Doc.# 323 6.) M to the eleventh Kerrfactor,the natureand length ofthe
20    professionalrelationshipw iththeclient,Plaintiffsindicatetherewasnopreviousrelationship.
21 (Doc.# 323 6.) M tothetwelfth and finalKerrfactor,awardsin similarcases,Plaintiffs
22 indicatetherearenosim ilarawards.(1d.)ConsideringtheKerrfactorsnotsubsumedinthe
23    lodestarcalculation,thecourtseesnobasisform ak nganyl dherenhancem entorreduction.
24    Inconclusion,thecourtcalculatestheinitiallodestarfigureat$1,082,776.
25           3. Results Obtained
26           1GT advocatesthatthe courtconsidera percentage reduction ofthe hoursexpended
27    from thetim eofPlaintiffs'com plaintuntilDecember8,2009,whenthestate-law claim swere

28                                                8
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    1 dismissedonsummaryjudgmentandtaltingintoaccountthehoursexpendedinlitigation
    2 related to the unsucca sfulclaims.(Doc.# 339 13-14.) In addition,IGT points outthat
    3    Plaintiffsdem anded m uch m oreinsettlem entnegotiationsand attrialthantheywereactually
    4 awarded bythejury.(Seefd.,Ex.1-4,6.) Asaresult,1GT request.sa5o% reduction in the
    5 hoursexpendedtoreflectwhatitperceivesasPlaintiffs'limited success.(fd.)
    6           Plaintiffs assertthatan award of attorney's fees under SOX is m andatory and not
    7 discretionaly.(Doc.#a.
                           tl.tl12.)PlaintisscontendthatlGT'srelianceonHensleyandM ccown
    8    ismisplacedbecausethosecmsesonlyapplytoaûorney'sfeesawardedunder4zU.S.C.j1988.
    9 (fd.) Plaintiffsclaim theirsetllementdem andsarenotrelevantforpurposesofdeterm ining
    10 theirsuccessattrial.(fd.at14.)Ultim ately,Plaintiffstakethepositionthata1loftheirclaims
    11   were related to theirw rongfulterm ination from IGT,and they obtained significantsuccess
    l2 attrial,sothatapercentagereductionisnotjustised.(Jd.at10-12.)
    13          First,while Plaintiffstaketheposition thatfeesawarded underSOX are m andatory,
    14    the statute explicitly qualiies the recovery of fees with the requirem ent that they be
    15 ''reasonable.''18 U.S.C.! 1514A(c)(2)(C).W hile the m andatory language in 18 U.S.C.j
                                                                                                        1
,
    16 1514A(c)(2)(C)m aydeprivethecoul'  tofdiscretion on thepropriety ofawardingfeesto the            k
          prevailing party,the am oun!awarded isclearly w ithin the cou!'tsdiscretion becauseofthe      1
                                                                         '
    l7
                                                                         .                              !
    18    stam te's use ofthe term ''reasonable.''See c.g.,Ttzpïn a7rp Sportservice,Inc.1g.Charles 0.   '
                                                                                                        k
                                                                                                        ;
    19    Finley& Co.,Inc.,676F.2d1291)1312-1313(9thCir.1982)(sndingawardoffeesonsuccessful             '
    20 antitrustsuitwasm andatory,butam ountoffeeswasuptocourt'sdiscretion).
    21          Second,PlaintiffscontendthatN cnsleponlyappliesin arequestforfee-sunder4zU .S.C.
    22 j1988.M theSupremeCourtspecifcallynoted,Tfgtlhestandardssetforthingffensleplare
    23    generally applicable in a1lcases in which Congress has authorized an award offees to a
    24    Tprevailing party.'''H ensley,461U.S.at433 n.7. SOX awards reasonable attorney'sfeesto
    25 a prevailing em ployee. 18 U.S.C.û 1514A(c). M oreover,theNinth Circuithasreferenced
                                                                                                        k
    26 H ensleyinthecontextoffeerequest.smadeoutsideof42U.S.C.j1988.See,e.g.,Nadarajah
    27 l?.H older,569 F.3d 906)91O (9th Cir.2009)(feerequestm adeunderthe EqualAccessto
    28                                                9
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1 JusticeActIF..AJAI,28 U.S.C.b2412(d)(1)(A));Jankey lJ.Poop Dcck 537F.3d 1122,1123,
2 1130-,
       31(9thPir.2008)(requestforfeesunderAmericanswithDisabilitiesActof1990(ADA),
3 42U.S.C.jj12101-12213);Parkpe.
                               '
                               rrcl.Park 1J.Anaheim UnionH ighSchoolDist,464F.3d
4     1025,1035(9thCir.2006)(feerequestundertheIndividualswith DisabilitiesEducationAct,
5 2o U.S.C.jl4oo,et.seq.).
6           Third,the courtfindsIGT'Sreliance on Plaintiffs'settlem entdem andsin itsTTresults
7 obtained''analysisisimproper.IGTreliesonM ccownlJ.CityofFontana,565F.3d1097(9th
8 Cir.2009),in askingthecourttoconsiderPlaintiffs'settlementdem ands,butinM ccown,
9     b0th parties sought to introduce evidence ofsetllem ent discussions and negotiations for
10    purposes ofruling on the requestforattorney'sfees.M ccown,565 F.3d at1104-05 n.4.
11    Courts''generallyrefrainfrom referencingproposedseœ em entagreem entsinlightofFederal
12    RuleofEvidence408,which seeksto protecttheconfidentialityofsetllem entnegotiations.''
13    Id.Here,IGTistheonlypartywhoseeksto introducethesettlem entnegotiationsaseddence,
14    andthereforethecourtwillnotcom parePlaintiffs'setllem entdem andtotheultim ateverdict
15    am ountin ruling on thefeesm otion.
16          Finally,the courtwillexam ine the resultsobtained by Plaintiffs,an im portantfactor     .
                                                                                                    )
17    in determ ininga feeaward.H ensley,461U .S.at434.UnderH ensley,thisdeterm ination is          l
l8    m ade by answeringtwo questions:dlFirst,did the plaintifffailto prevailon claim sthatwere     $
19    unrelated to the claim s on which hesucceeded? Second,did theplaintiffachieve a levelof       '
20    successi atm akesthehoursreasonablyeo endedasadsfactoa bu isform akingafeeaward?''
21    ffenslep,461U .S.at4349see alsoM ccow n,565 F.3d at1103.
22           Here,theansw ertothefrstquesdonisno.Claim sarerelatedifXheyinvolveacom m on
23 coreoffactsorarebasedonrelatedlegaltheories.''Thomasl?.(lfrpofTacoma,41OF.3d644,
24 649(9thCir.2005)(internalquotationsomitled).TheSOX claim Plaintiffsprevailedonand
25     the state1aw claim s Plaintiffs did notprevailon are clearly related.They al1arisefrom the
26     sam ecom m oncoresetoffacts:Plaindfs'whisdeblov ngae Gdesandsubsequentterm ina*on
27     from IGT.
28                                                lo
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        l           The answerto the second question isyes. Plaintiffs achieved a levelofsuccessthat
        2     m akesthehoursreasonably expended asatisfactory basisform aking afee award.ffenslep,
    .   3     461U.S.at434.f'W hereaplaintiffhasobtained excellentresults,hisattorneyshould recover
        4     af'ully com pensatory fee.''Id.at435.t'Thereisno precise nlleorform ulaform alting these
        5 determinations''and'dEtlhecourtnecessarilyhasdiscretioninmakingthisequitablejudgment.''            '
        6     fd.at436-37.
        7           lGT argues Plaintiffs prevailed on only one of their originalclaim s,however,the
        8     Suprem eCourthasrecognized thatproportionalityisnotthetesttobeutilizedbythecourts.
        9 SccHensley,461U.S.at435 n.11;scealsoM ccown,565 F.3d at1104 (citation om itted);
        10 M cGinnisv.Kenœc* F6edchicken,51F.3d805,806-09(9tbCir.1994)(arithmeticproration
        1l ''m akesnopracticalsense'').''EA)plaintiffdoesnotneedtoreceiveallthereliefrequested in
        12    orderto show excellentresultswarrantingthefully com pensatory fee.''Dang 1J.Cross,422          '
        13    F.3d 800,813 (9th Cir.2005)(citationsomitted).
        14           W hilePlaintiffsonlyprevailedonthesox claim ,thecourtfndsthatplaintiffsachieved         '
        l5    an excellent result,and should recover a f'ully com pensatory fee. This action involved
        16    protracted litigation foraperiod ofm orethan sixyears,and therecanbeno question thatthe
        17    resultwassignificant.AlthoughIGT considerstheverdictinexcessof$2m illiontobesmall              .
                                                                                                             h
        18    in com parison with the am ountPlaintiffs requested attrial,in the court's experience,they     1
                                                                                                             .
        I9    obtained an excellentresult.
        20           Thecourtism indfulthatitm ustconsiderwhetherplaindfs'unsuccessfulpursuitswere           p
                                                                                                             l
        21 asignificantenough portion oftheiroveralleffortstojustià areduction in fees. In the
        22     Com plaint,Plaintiffs'requested dam ages under SOX including reinstatem ent w ith sam e
        23     senioritystam sjbackpayw ith interest,lostearnings,benelts,bonuses,andstockoptionsand
        24     com pensation forspecialdam agesincludinglitigation costs,em otionaldistress,expertw itmess
        25 feesandreasonableatlorneysfees.(Doc.#315.)lntheirstatelawclaim s,Plaintiffsrequested
        26     lostearningà,lostbenefts,stock optionsand bonuses,and interest,aswellasattorney'sfees
        27 andcosts,andexemplarydam ages.Ud.at16-19.)W hilePlaintiffs'SOX causeofaction was
        28                                                11
                         )
     Case 3:04-cv-00703-RAM      Document 356      Filed 05/24/11   Page 12 of 35




l     the onlyclaim thatwentto trial,thedam agesthatPlaintiffsrequested,in com parison to the
2     statelaw claim s,wereby and largethesam e.
3           InM ccbum ,theNinth Circuitnotedthat'Tresultsm ay notbem easured solelyinterm s
4 ofdamages''and''thedistrictcourtshouldconsidernotonlythemonetaryresultsbutalsoihe
5 signiscantnonm onetary results Etheplaintiftl achieved forhim selfand otherm embersof
6     societ-w'
              'M ccown,565Radat1105(citingM orales?p.Cf1pofsanRafael,96F.3d359,365
7     (9thCir.1996)).''Suchanonmonetaq ictol mayconsdm tefexcellentresults'forthepurpose
8     ofcalculating attorney'sfees.''1d.The Plaintiffsreceived a resultthatconfersa m eaningful
9     public beneft. Plaintiffs note,and IGT does not dispute)that this is the first trialofa
10 whistleblowerprotectionactionunderSOX inthisjurisdiction.(Doc.#3234.)Plaintiffsalso
1l    correctlypointoutthatthism atleraffordedtheNinth CircuititsY rstoppoc nitytoexam ine
12    thesubstantiverequirem entsnecessarytoestablish aclaim underthewhistleblower-protecuon
13 provisionsofESOX).''F'
                        andsdaletl.IGT,577F.3d989)991(9thCir.2009).InenactingSOX,
14    congressm adeclearthatfraud againstshareholdersisan issueofpublicconcern,andcreated
15 a civilrem edy for em ployees ofpublic companies who are subjectto discrimination or
16 retaliationforreportingcorporatefraud.S.Rep.No.107-146,at1(2002).Congresspassed
17    SOX in the wake ofthe Enron scandal,in responseto whatitcalled:                             .
18           EAq culm re,suppoded by law,that discourageEs) employres from                        '
            reporting fraudulentbçhavior notonly to the prqper authorlties...but
l9          even internallyv This Rcorporate code of silence''not only ham pers
            investigations,butalsocreatesaclim atewbereongoingw rongdoingcan
20          occurw ith virtualim punity.
      S.Rep.No.107-146,at5(2002).Thewhistleblowerprotectionprovisionservestoffencourage
21
      and protectEemployees)who reportfraudulentactivitythatcan damageinnocentinvestors
22
      inpubliclytradedcom panies.''1d.at19.Accordinglyytheexcellentresultachievedbyplaintifs
23
      wasajuryverdict,awardingthem inexcessof$2million,vindicatingtheirownrightsandthe
24
       publicinterestin preventingfraudagainstshareholders.Forthesereasons)thecourtdeclines
25                                                                         .
      to im pose a percentage reduction in fees.   .
26
      ///
27
28                                                 12
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       wt
+4 .




            1           4.   H ours R easonably Expended
            2           lGT arguesthatthe num berofhours spentby Plaintiffs'counselshould be reduced
            3 because Plaintiffsimproperly included hours relating to:(1)theIGT/BaIIy litigation;(2)
            4 defending the motion forterm inating sanctionsthatthey lost;(3)appeals;(4)theOSHA
            5 com plaintthatwasvoluntarilyv thdrau ;(5)non-testifyingexpertchrisComuntzis;(6)M s.
            6 Fenner;and (7)entriesthatareunrelated orambiguous.(Doc.# 339 8-12.)
            7       Attheoutset,Rltlhefeeapplicantbearstheburden ofdocumentingthe appropriate
            8     hoursexpended in litigation and m ustsubm itevidence in supportofthosehoursworked.''
            9 Gates,987F.zdat1397(citingffenslen,461U.S.at433)437).Timeexpendedonworkdeemed
            10 ''excessive,redundant,orotherwiseunnecessary''shallnotbecompensated.Seefd.(citation
            1l om itted).Thepartyopposingthefeeapplicationthenhastheburdenofsubm ittingevidence
                                                                                                               k
            l2    ffchallengingtheaccuracyand reasonablenessofthehourschargedorthefactsassertedbythe           .
            13    prevailing part.yin itssubmitled affidavits.'
                                                              'Id.at1397-98 (citingBlum ,465U.S.at892 n.
            14    5).
            l5                a. H ours related to the B allg litigation
            16           IGTarguesPlaintiffsarenotperm itledtorecover37.6 hoursinfeesassociatedwiththe         ,
                                                                                        '                      !
            l7 Ballyt7.fGrlitigation.(Doc.# 3398-9.)PlaintiffsmaintainthatthedepositionsinjheBally             ,
            18 litigation would nothavetaken placebutforthei'
                                                            nstantlitigation. (Doc.# 344 6.) In its
            19    m inute order,thecourtasked Plaintiffsto specifically identifythebillingentries,by dateand
            20 description,l atarerelatedtoum eeo endedonthefallplitigation.(Doc.#351.)Inresponse,
            21 Plaintiffsflled Doc.# 352,and identified 39.9hoursin Exhibit18.(Doc.# 352 4)EX.18.)
            22    Although the courtdid notrequestfurtherbriefing,Plaintiffsincluded an explanation in an      '
            23 effol'
                    ttojustify thetime spent. (fd.) IGT filed aresponsearguing:(1)Exhibit18 failsto            $
            24 referenceentrieschallengedbyIGT;(2)Plaintiffs'explanationsfortheseentriesdonotm ake
            25 sense;and(3)PlaintiffsincludeentriesthatwerenotevenchallengedbyIGT.(Doc.#353.)
            26     Plaintiffsfiled amotion tostrikeIGT'Sresponse.(Doc.# 354.)
            27
            28                                               13
               Case 3:04-cv-00703-RAM     Document 356     Filed 05/24/11   Page 14 of 35
     *!
ex   '




          1           The justification provided by Plaintiffswasbeyond thescopeofthe court'sm inute
          2     order,and was not provided in Plaintiffs'm otion or reply. Therefore,the courtw ill not
          3     considerthe explanationsprovided by Plaintiffs in Exhibit18. The courtdeniesPlaintiffs'
          4     m otion tostrikebecauseitfindsIGT'SresponsewasreasonableinlightofPlaintiffsim proper
          5     inclusion ofadditionalbriefing and thediscrepancy between thehours attacked by lGT and
          6     thehoursidentifed by Plaintiffsin Exhibit18.
          7           Reliefunder18 U.S.C.j1514A(c)isprovided to an em ployeeprevailingin an action
          8 broughtunder18 U.S.C.j1514A09(1).TheBally actionwasseparatefrom Plaintiffs'action
          9 under18 U.S.C.j151* ,andthereforePlaintiffs'feeawardshouldbereducedbytheam ount
          10 ofhoursbilledbyplaintifs'counselaRributabletothelcllpaction.V terreviewingPlaintiffs'
          11 billing records,IGT'S challenged entries,and Plaintiffs'Exhibit ,8 (not including the
          12 ee lanauonsl,i ecouddeterm inesl efolloe ng entrieswerefordmeexpendedinconneY on
          l3    w ith theBally litigation and willreducethefee award accordingly:

          l4 Date           Tmwyer/      H ours Rate Description                            Total
          15                ParalegaI

          16 7/24/06 Lenz                1.
                                          o        $350 Legal
                                                        ducesa
                                                             tnalysis
                                                              ecum  frresuBa
                                                                      om  blyoena           $350          !
                                                                                                          ,
                                                                                                          .
          l7
                7/25/06     Piscevich    3.0       $450 Review subpoenafrom Bally&          $1,350
          l8                                              review docum ent.sthatm ay be                   '
                                                          responsive
          19
                7/25/06     Piscevich    o.5       $450 DictatelettertoMs.Candido           $225
          20                                               re:subpoena & docum ents

          2l 7/25/06 Stark               1.6       $120 d
                                                        Ro
                                                         ec
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          22                                              forapprovalto produce

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                7/26/06     Lenz         o.5       $350 Review andreviseresponsesto $175
          24                                               subpoena DucesTecum from
                                                           Ballys
          25
                7/27/06     Piscevich    2.o       $450 Review docum ents& revise           $900
          26                                               selection tobeproduced &
           '                                               reviseletlerto M s. Candido
          27
          28                                              14
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         *J
**                    .




              1 7/28/06        Piscevich    03
                                             .     $450 Te1ephonecallwith M s.               $135
              2                                            Candido re:docum ent.s
                                                           produced by plaintiffsin                     .
              3                                            responseto subpoenl;review
                                                           em ailfrom M s.Candldo
     '        4     7/28/06    Piscevich    o.2    $450 Telephonecallwith M s.               $9O
                                                    .      Candido re:statusofm otions              .
              5
              6 7/28/06        Piscevich    o.1    $450 Review letterfrom M s.Candido $45
              7 8/2/06         Lenz         0.3    $350 Receiveapd review subpoena $105
                                                           from IGT ln Bally case re
              8                                            com m unicationswith Bally's
                                                           counsel
              9     8/2/06     Piscevich    o2
                                             .     $450 Review letterfrom M r.Dilger& $9o
              10                                           subpoypa & noticeto take
                                                           deposltlon
              ll 8/2/06        Piscevich    o.2    $450 Telephonecqllwith M r.Peek           $9o
                                                           re:h1sdeposltion notice & m ine                  ,
              12
                    8/2/06     Piscevich    o.4    $450 DictatelettertoM r.Dilger            $180           '
              l3                                                                                            ,
                    8/10/06    Piscevich    0.3    $450 Review lettersfrom M s.              $135
              14                                           Candido re:docum ent.s&
                                                           privileges;callto M s.Candido
              15                                           re:letters
              16 8/30/06       Lenz         2.o    $350 Receiveand review discgvery          $700           '
                                                           disputeletterfrom N.Dllger;                      r
              17                                           legalanalysis and draft                          ,
                                                           responseto discovery dispute                     k
              l8                                           letterresubpoenato Piscevich
                                                           & Fenner
              19                                                                                            !
                 8/ao/o6        Piscevich   o.1    $450 Review letterfrom M r.Dilger         $45            ,
              20 8/a,/o6       Lenz         0.5    $350 Review andreviselettertoN.           $175           ,
                                                           Dilgerre subpoena                                .
              21
                    2/21/07    Lenz         1.o    $350 Receiveandreview                     $350
              22                                           correj ondencefrom A.                            '
                                                           candlîotoN.Dilger;legal
              23                                           analysis re correspondence for
                                                           possible revision ofOpp to                       '
              24                                           m otion forreconsideration
              25 2/21/07       Piscevich    o.1     $450 Rmdew emailfrom Mr.Peek&            $45
                                                           letter
              26 2/:a/o7       piscevich    o.2     $450 Telephonecallwith M r.Peek          $9o
                                                           advising willproduce em ail
              27
              28                                           15                                       .
I

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    1 4/19/07       Piscevich     o4
                                   .      $450 Telephonecallsfrom & with              $180
    2                                          M r.Delk & çlientsre:
                                                  depositions ln the Bally,scase
    3 4/20/07        Lenz         o.5     $350 Review subpoenasfor                    $175
                                                  depositionjofShawn and
    4                                             Lena;em mlto SVA and LVA re
                                                  depositions
    5
          4/23/07    Piscevich    o.5     $450 Review subpoenassew ed on              $225
    6                                             clients;dictateletlerto M r.
                                                  Peek & M r.Verhoeven
    7
          5/16/07    Piscevich    o.2     $450 TelephonecallwithMr.Peek               $9O
    8                                             re:privilege issues
    9 5/16/07        Piscevich    o.2     $450 Telepjonecallfrom Mr.Dilger $9o
                                                  re:pnvilegeissues
    l0 5/16/07       Piscevich    o.1     $450 Review letterfrom M r.Dilger           $45
    11 5/16/07       Piscevich    o.5     $450 DictatelettertoM r.Dilger&             $225
                                                  M r.Peek
    l2
          5/21/07    Piscevich    o.1     $450 TelephonecalltoMr.Peek's               $45
    13                                            Ofscefororder
    14 5/21/07       Piscevich    o.2     $4so Telephonecallwith M r.Peek             $9o
                                                  re:hearing & M arkm an order
    15 s/21/o7       Piscevich    o.2     $450 TelephonecallwithMr.Delk               $9o
                                                  re:Shaw n'sdeposition &
    16                                            alternativedates
    l7 5/30/07       Piscevich    o.6     $450 Telephonecqllsto& from Ms.             $270
                                                  Candido & cllents re:
    18                                            depositions& rescheduling
                                                  depositionsin Bally case
    l9
          5/31/07    Piscevich    o.2     $450 Telephonecallwithclientsre:            $9o
    20                                            Bally depositions
    21 5/31/07       Piscedch     0.4     $450 DictatelettertoMr.Dilgerre:            $180
                                                  depositions
    22 6/1/07        Piscedch     o.1      $450 Review letterfrplp Mr.Dilger          $45
                                                  re:waiverofpmvllege
    23
           6/4/07    Piscevich    8.o      $450 Attend& defenddepositionof            $3,600
    24                                          M rs.VanM dalein IGT/Bally
                                                  litigation
    25
           7/9/07    Piscevich    o.1      $450 Review letterfroplMs.Candido $45
    26                                             cancelling deposltlon
    27 4/1s/o8       Lenz         o.5      $350 TelephoneconferencewithA.             $175
    28                                            16
                                                                                                         1
!
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              Case 3:04-cv-00703-RAM    Document 356    Filed 05/24/11     Page 17 of 35

    *k




         1                                             Candido re tim e ofdepo for         .

                                                       Shaw n Van M dale;em ailto
         2                                             SVA re depo tim e
         3 4/21/08        Lenz         0.3     $350 Te1ephoneconferencewithA.                  $105
                                  '
                                                       CandidoJedepo scheduling
         4                                             and contlnuance
         5 6/18/08        Piscevich    o.2     $450 Review letterfrom Ms.Candido $9o
                                                       & send rmailtoclientre:his
         6                                             depositlon
         7 6/26/08        Piscevich    o.1     $4so Revie)vem ailfrom M s.                     $45
                                                       Candldo & send gm ailto M r.
         8                                             Van Asdale re:hlsdeposition
         9     6/27/08    Piscevich    o.1     $450 Reply toem ailfrom Ms.                     $45
                                                       candido re:Shawn'sdeposition
         10 7/16/08       Piscevich    o.2     S4so Review emails(4)flpm M r.                  $9o
                                                       Glassrr& M s.Candldo re:
         11                                            deposltion ofclient
         12 7/16/08       Piscevich    o.2     $450 Telephonecallwith Ms.                      $90
                                                       Candido re:deposition ofM r.
         13                                            Van Asdale
         14 7/16/08       Piscevich    o.1     $450 Review letterfrpm Mr.Dilger& $45
                                                       send sam e to cllent
         15 7/17/08       Piscevich    o2
                                        .      $450 Revier emailsfrom M s:                     $9O       '
         16                                         Candldo& M r.Glasser& rjply                          .
                                                       to sam e re:M r.Van M dale s                      .
                                                       deposition                                        '
         17                                                                                              I
               7/21/08    Piscevich    8.o     $450 Attend& defenddepositionof                 $3600     i
         l8                                            M r'van Asdale                                    j
         19 7/28/08       Piscevich    o.1     $450 Revier email& letlerfrom M s. $45
                                                       Candldo
         20                                                                                              .
               9/3/08     Piscevich    o.4     $450 DictateletlertoAmyCandido                  $180 '
         21                                            re docum entslocated                              '
                                                                                                         k
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         22 10/26/09 Piscevich o.2              $450 Tele
                                                     re:ay
                                                         .
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                                                               ance;cat
                                                                      jj
                                                                       hto
                                                                         Mr
                                                                          ks
                                                                           Peek $9o
                                                                                 .
                                                                                                         k
         23                                            Candido                                           :
                3/21/10   Piscevich    o.5      $450 Dictateletlerto Candido      $225
         24                                                                                              .
                5/5/10    Piscevich    o.8      $450 Telephoneconferencewith M s. $360
         25                                            Candido
         26 5/5/10 Piscevich           o.9      $450 Dictateletterto Ms.Candido                $405
         zy TOTAL:                                                                             $16,632

         28                                            17
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A




    1
    2         Plaintiffs'fee award is reduced by $16,632,resulting in atotalof$1,066,144 in fees
    3 (calculated bysubtracting $16,632from $1,082,7j6).
    4               b. M otion for term inating snnctions
    5           IGT arguesPlaintiffsare notentitled to recoverfeesfor53.9 hoursexpended on their
    6 defenseofIGT'Sm otionforterminatingsanctions.(Doc.# 3399.)Plaintiffsarguetheymay
    7 recover these fees because IGT failed to obtain its desired result. (Doc. # 344 *6.)
    8          The coul'thas discretion to exclude fees thatare excessive,redundant,orotherwise
    9     unnecessary. SeeN cnslcp,461U .S.at433-34;Gates,987 F.2d at1397. IGT filed a m otion
    10    forterm inating sanctions againstPlaintiffson August1O,2006,which Plaintiffs opposed.
    11 (Doc.# 135 and # 144.) The courtdeclined to issue term inating sanctions,butawarded
    12    m onetary sanctionsin theform ofcounsel'sfeesforpreparingthem otion and travelcostsfor
    l3 thehearsng.(Doc.#149.)IGTsoughttorecover$39,201.18infeesand$572.18incosts.(Doc.
    14    # 158.) Plaintiffsmovedto retaxthecostsand feesincurred by IGT in connectionwith the
    15 m otion.(Doc.# 161.) IGT opposedandrenewed itém otionforterm inatingsanctionsbased
    16 on furtherdiseovery developm ents. (Doc.# 188.) IGT'Srenewed motion forterm inating
    17 sanctionswaspendingwhenthecou/ grantedsumm aa judgmentastoPlaintiffs'Soxclaim . 1
    18    After the appellate coul't reversed and rem anded the m atter,IGT renewed its requestfor    '
    19    term inating sanctions,and revisited the dispute as to the am ount of m onetary sanctions
    20 awarded againstPlaintiffs. (Doc.# 225.) The courtdenied IGT'S renewed requestfor
    21 term inatingsanctions.(Doc.# 233and #234.)ThecourtorderedIGTwasentitledtorecover
    22    $9,449.33111feesand$512.18incost.sinconnectionwiththeoriginalm otionforterminating
    23 sanctions.(Doc.# 246.)                                                                         1
    24          ThecourtfindsthatthehoursexpendedbyPlaintiffs'counselin connection with IGT'S         :
    25     m otionforterm inatingsanctionswerenotexcessive,unnecessary,orredundant,anddeclines
    26    to reduce the fee award on this ground. W hile lGT was successfulin obtaining m onetary
    27    sanctionsagainstthePlaintiffs,thecourtdid notissueterm inadngsanctions.Inaddition,the
    28                                              18
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(


    1     courtdenied the renewed requestforterm inating sanctions,and reduced thefeesrequested
    2 byIGT from $39,201.18to$9,449.33.W itb thisin mind,thecourtcannotconcludethatthe
    3     tim e spentby Plaintiffs'counselin these endeavorswas unreasonable.
    4                 c. H ours related to appeals
    5           IGT arguesthatthefeesincurred in connection with appealsare notallow ed because
    6     Plaintiffsfailedtorequestsuchfeesfrom thecircuit.(Doc.# 3449-10.) Plaintiffsarguethat
    7     them andatoryphrase''litigation expenses''underSOX distinguishesitfrom therequirem ent
    8     thatfees on appealbe requested from the circuitundera statm e sucb as 42 U .S.C.j 1988,
    9 wheretheawardofcostsandfeesisdiscretionary.(Doc.# 3447-8.)
    10          AtissueiswhetherPlaintiffswererequiredto requestfeesincurred in connection with
    ll theappealsdirectlyfrom theClerkoftheNinthCfrcuitinthefirstinstance.NinthCircuitRule            .
    12    39-1.6 provides thata requestforattorney'sfees m ustbe filed with the circuitclerk within
    l3    fourteen daysfrom theexpiration oftheperiod within which a petition forrehearingm ay be
    14    fled.SceCircuitRule 39-1.6,1.8.Ifa petition forrehearing isfiled,arequestforattorney's
                                                                                                      1
    15    feesm ustbetiledw iththecircuitclerkwithinfourteen daysafterthecourt'sdispositionofthe      .
    16    petition.Id.Thecircuitrulesallow forthetransferofafees-on-appealrequesttothedistrict
    17    coul-tforconsideration,butT'thedecisiontoperm itthedistrictcourttohandlethem atterrestas
    18 with the courtofappeals.''Cttmm ings 1g.Connell, 4o2 F.3d 936,948 (9tbcir.2005),as
    19    am endedAprilk7,zoos.
    20           The case 1aw on this topic appears to be som ewhat unsettled in the Ninth Circuit.
    21 Cttmmingsinvolved aclassaction broughtpursuantto42 U.S.C.j1983,and arequestfor
    22 attorney's'feesunderj1988.Cumm ings,4o2F.3dat94O-41.Thedistrictcourtawardedcosts               .
    23    and feesto theplaintiffsasprevailing party,including feesand costsincurred on appeal.1d.
    24    at942.In the second paragraph oftheopinion,the Ninth Circuitclearlystates,''pursuantto
    25     Ninth CircuitRule 39-1.6,a requestfor atlorney'sfees incurred on appealm ustbe m ade to
    26     us,notto the districtcourt.The districtcourtisnotauthorized to award attorney'sfeesfor
    27     an appealunlesswetransferthefeerequesttothedistrictcourtforconsideration.nfd.at940.

    28                                               19
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    l           Justseven m onthslater,in Tw entieth Centurp FoxFilm Corp.l?.Entm 'tD istrib.,429
    2 F.3d 869 (9tbcir.2005),theNinth Circuitaë rmed an award ofattorney'sfeespursuantto
    3     k7U.S.C.j505,forworkdoneonappeal.There,thedistrictcourtgrpntedrrwentiethCenm ry
    4     Fox'sm otion forsum maryjudgm ent,anditsmotionforattorney'sfees.fd.at875.Dalstar,
    5     thelosing party,appealed thesummaryjudgmentr'uling,and theNinth Circuitaffirmed
    6     judgmenton thetmnham Actclaim,and reversedand rem anded thecopyrightclaims.fd.
    7     Dalstaralsoappealedthefeeaward,andtheNinthCircuitrejectedtheargumentsthatthefee
    8     requestwas notadequately docum ented and thatthe rates were excessive,butvacated and
    9     rem anded the aw ard pending resolution ofthe copyrightclaim s.fd.Thepartiesproceeded
    l0    w ith a bench'trialon the copyrightclaim s,and Twe'ntieth CentunrFox prevailed. Id. The
    11 districtcourtonceagain granted them otionforattorneys'fees.Id.Dalstarappealed,and the
    12    Ninth Circuitconsidered whetherthedistrictcourtabused itsdiscretion in awardingthefees
    13 on appealofthesumm aryjudgm entmotion.fd.at884.Dalstar,relying on Ninth Circuit                r
    14 Rules39-1.6 and 39-1.8,arguedthatthedistrictcourtwaswithoutjurisdiction toawardthe             .
    l5    feesbecauseTwentieth CenturyFoxdid notfirstslean applicationw iththeClerkoftheN inth

    l6    Circuit.Id.                                                                                 .
    17          Relying on Cabralest?.LosAngeles,935 F.2d 1050 (9tbCir.1991),theNinth Circuit
    18    found that the district courtdid not abuse its discretion in awarding the fees on appeal.
    19    Tw entieth CenturyFox,429 F.3dat884.TheNinth Circuitpointedoutl atcabraldJinvolved          '

    20    afeeaward under42 U.S.C.!1988,andtheplaintiffswerecompensated forattorneys'fees
    2l onappealbecausetheworkç'contributegd)totheultim atevictoryinthelawsuit.''1d.(quoting
    22 Cabrales1g.LosAngeles,935F.2d 1050,1052(9tbCir.1991)(internalquotationsand citaton
    23 omitted). lnterestingly,theholding in Cum mings,issued seven m onthsearlier,was not
    24     m entioned.
    25          InNatttralResourcesDefenseCouncil,Inc.u.W'
                                                         fnler,543F.3d1152(9thCir.2008),
    26 theNam ralResourcesDefenseCouncilINRDCIwassuccessftzlin obtainingaTRO enjoining
    27 the U.S.Navy from using m id-frequency sonarduring training exercises,and subsequently

    28                                               20
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     1 reachedasettlem ent.W '
                             fnler,543F.adat1154-55.'NRDcflM am otionforattorneys'feesand
    2 costsforworkdoneinthedistrictcourtandappealundertheEAJA,28U.S.C.b2412.Id.The
    3 districtcourtgrantedthem otion.fd.On appeal,theNavychallenged,am ongotherthings,the
    4 court'saward ofattorneys'feesto NRDC forhoursspentpreparingtheappealoftheTRO .Id.
    5 at 1158. The Navy relied on Ninth Circuit Rules 39-1.6 and 39-1.8 and the decision in
    6 Cum m ings.Id.at1164.TheNinth Circuitrecognized itsholdingin Cttm m ings,thatappellate
    7 fees requested pursuantto 42 U .S.C.j 1988 m ustbe filed w ith the Clerk ofthe Ninth Circuit
    8 inthefirstinstance,andnotwiththedistrictcourt.1d.(citingCum m ings,402F.3dat947-48).
    9 The courtalso pointed outthe resultreached in Tw entieth Cenrttrp Fox,aE rm ing an award
    l0 forwork doneon appeal.1d.Ultim ately,in N fnlcr,the Ninth Circuitconcluded thatthefee
    11 award wasproperlyfiled inthedistrictcourq yeasoning:
               EtlheEAJA,howeversuplikethefee-shlftingstatm es-28 U.S.C.j1988 and 17
    12         U.S.Cub505-statesthatfacourtshallawardtoaprevailingpartyotherthanthy
               U nited States fees and other expepses...incurl'ed by that party in any ciul
    13         action...broughtbyoragainsttheUmted Statesm anpcourlhavingjurisdiction
             ofthataction.
    14 1d.(quoting28U.S.C.j2412(d)(1)(A))(emphasisinoriginalinopinion,notinstattlte)(internal
    15 quotationsomitted).Thecourtwenton to concludethatffthe plain languageofthestatute
    l6 indicates that the district courtm ay properly award fees for alllevels of litigation.'' Id.   '
    17 (em phasisoriginal)(citationom itted).TotheextenttheNinthCircuitruleswereinconsistent, '
    18 theEAJA wascontrolling.Id.at1164 (internalquotationsandcitationomitted).Finally,the
    19 courtfound thatlikethefeeaw ard ao rm ed in Tw endeth Ccnturp Fox,thesefeescontributed         '

    20 totheultim atevictoryinthelawsuit.Id.(citingTwentieth Ccnturp Fox,429 F.3d at884).
    2l         Because W inter reliesprim arily on the language ofthe EAJA in finding thatfeeson
    22 appeal m ay be sought from the district coul't in the frst instance,it does not resolve the    '
    23 discrepancy behveen Cum m ings and Twentieth Centurp Fox. Upon furtherexam ination of
    24 Cum m ings,Tw entieth Centttry Fox,W fnler,and Cabrales,the courtfinds Plaintiffs were
    25 requiredtorequestfeesfrom theNinth Circuitinthefirstinstancebecause:(1)unlikeN fnler,
    26 theplain langtlageofSOX doesnotindicatethatthedistrictcourtm ay properly award feesfor
    27
    28                                              21
         Case 3:04-cv-00703-RAM     Document 356      Filed 05/24/11   Page 22 of 35

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    l alllevelsoflitigation;and (2)Twentieth Cenm rp Fox,insofarasitisbased on Cabrales,is
    2 inapposite.
    3                i.Sox doesnotprovideforanawardoffeesatalllevelso-/-lflfgarfon
    4          N fnterinvolvedafeerequestundertheEAJA.TheY A prod des:t'ExceptasotheM se
    5 speciscally provided by statute,a courtshall award to a prevailing party...fees and otber
    6 expenses,in additiontoanycostsawarded pursuanttosubsection (a),incurredbythatparty
    7 inanycivilaction...broughtbyoragainsttheUnitedStatesin any courthavingjurisdictionof
    8 thataction...''28 U.S.C.j2412(d)(1)(A)(emphasisadded). W interfocuseson thelanguage
    9 ''in any court''in holding thatthe districtcourtproperly aw arded fees on appealin the first
    10 instance.
    1I         AwhistleblowerunderSoxhastwooptionsforseekingrelief:(llilingacomplaintwith
    12 theSecretary oflaabor;or(2)iftheSecretaryhasnotissuedafinaldecisionwithin 18o days,
    l3 bringan action in thedistrictcourt.18 U.S.C.j 1514A(b)(1). lfsuccessfulin eitherofthese
    14 proceedings,the em ployee isentitled to:                                                        .
    15         allreliefnecessaryto m aketheem ployeewhole.Thisreliefshallinclude--
               (A)reinstatementwiththesamesenioritystatusthattheemployeewould
    16         havehad,butforthe discrimination;(B)theam ountofback pay,with                           ;
               interest;and (C)compensation foranyspecialdamagessustalned asa
    17         resultofthediscrim inationzincludinglitigation costs,expel w itnessfees,                l
               and reasonableatlorney fees.
    18 18 U.S.C.j1514A(c).
    l9         UnliketheEAJA,Sox doesnotspecifcallyproddefortherecovçl offeesandexpenses
    20 incurred in an action broughtin ''any court''havingjurisdiction oftheaction.Instead,SOX         1
    21 specifically statesthattheremediesareavailableto ''gajn em ployeeprevailingin anyaction
    22 undersubsection (19(1)''-acom plaintwith theSecretaryoflaabororan action inthedistrict
    23 court. Thisweighsin favoroffinding thatPlaintiffswere required to requestfeesfrom the

    24 appellatecourtin thefrstinstance.
    25                      ff. Twentieth Centuru Fox isinapposite             '
    26         In its determ ination thatfees on appealw ere properly aw arded by the districtcourt,
    27 TwentiethCenrunpFbzrelieson Cabrales.In Cabrcles,theplaintiffw on hercivilrightslawsuit

    28                                               22
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    l andwasawardedaSlso,ooojuryverdict.Cabrclcs,935F.2dat1051.Shemovedforattorney's
    2 feesunderj1988and wasawardedfees.1d.Thecountyappealedtheverdictandfeesaward.
    3 Id.TheN inth Circuitaë rm ed,and subsequently awarded herattorney'sfeeson appeal.fd.
    4 The county filed a petition forcertiorarito the U .S.Suprem e Court.1d.The Suprem e Court
    5 grantedthepetition,vacatedthejudgmentandremandedforfurtherconsiderationinlightof
    6 arecentcase.Id.On rem and,theNinth Circuitconsidered thenew case,found itinapposite,
    7 reinstatedtheoriginaldecision,and aë rm edthedistrictcoutt'sjudgm ent.Id.
    8          Thecountysled asecond petition forcertiorari,which wasdenied.Cabrales,935F.2d
    9 at 1051. Cabrales m oved the Suprem e Courtfor attorney'sfees incurred in opposing both       '
    10 petitionsforcertiorari,which theSuprem eCourtdeniedwithoutprejudicetoberenewed in
    l1 the districtcourt.fd.at1051-52.Cabrales did so,and thedistrictcourtawarded herfees on
    12 thesecondpetition(whichhadbeendenied),butnothingonthefirst(whichhadbeengranted).
                                                                                                    :
    13 fd.at1052.Cabralesappealed the districtcourt'sdenialoffeesincurred in opposingthefirst
    14 petition forcertiorari.zd.
    15        The Ninth circuit,interpreting H ensley u.Eckerhart
                                                                ', 461U.s.424 (198a),statedthat     .
    16 Hensley''establishled)thegeneralrulethatplaintilsaretobecompensatedforalorney'sfees          .
                                                                                                    )
    17 incurredforsenricesthatcontributetotheultim atedctou inthelawsuit.Thc evenifaspecifc
    18 claim fails,thetim espenton thatclaim m aybecom pensable,in f'ullorin part,ifitcontributes   r
    19 tothesuccessofotherclaims.''Cabrales,935F.2d at1052(citation Omitted).Cabralesalso           :
                                                                                                    h
    20 referencedtheholdinginNA.A.C.P.t;.CityofRichmond,743F.2d 1346(9thCir.1984),in .
    21 finding,'dgilfaplaintiffultimatelywinsonaparticularclaim,sheisentitledtoal1attorne/sfees )!
    22 reasonableexpended in pursuingthatclaim -eventhough shem ayhavesuffered som eadverse         :

    23 rulings.'fd.at1052-53.                                                                       ;
    24         H ere,thecoul-tisnotsayingthatplaintiffswould notbeentitledto recoverfeesandcosts    k
    25 on appealifthey wereproperly requested.lnstead,thecourtfindsthatPlaintiffsshould have
    26 requested the fees incurred on appealin the Ninth Circuitin the srstinstance,orthatthey
    27 should have soughta transferofthe requestto the districtcourt. Thiswas notthe question
    28                                             23
         Case 3:04-cv-00703-RAM     Document 356     Filed 05/24/11   Page 24 of 35

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    l posed in Cabrales,and therefore itisdistinguishable. Cabrales broughtthe requestforfees
    2 concerningthepetitionforcedioraritotheSuyremeCourtandtheSuprem eCourtrem anded
    3 the request forfees on the certioraripetition that had been granted to the district court.
    4 Cabrales,935F.2dat1051-52.W ith respecttothefeesthatCabraleshadsoughtonappeal(as
    5 com pared to those in connection with thepetition forceltiorari),Cabralessoughtand was
    6 awarded thosefeesby theNinth Circuit.1d.at1051.
    7           Insum,nothinginSoxindicatesthatthiscourthasjurisdictiontoentertaintherequest
    8 forfeesand costs in the firstinstance,aswasthe case with theEA.TA. In addition,Cabrales,
    9 on which Tw entieth Centttry Fox relies,isdistinguishable.Thecourtfindsthattheholdingin
    10 Cum m ingsappliesto thiscase.
    1l          Plaintiffsdo notindicate thatthey m ade any requestsforfees from thecircuitcourtor
    12 thatthey t'
                 iled a m otion to transfer consideration of attorney's fees on appeal. The court
    l3 recognizes that this m ay have been an oversight,and thatthis oversightis m et with harsh
    14 results;however)thecoud isw ithoutauthoritytoawardanyappellatefees.Thereforeythecourt
    l5 findsthatthePlaintiffsarenotentitled to atlorneys'feesincurred in the course ofthe appeal.
    16 The coul'tfindsthatthe following hourswere related to theappealand willreduce Plaintiffs'
    17 award ofattorneys'feesaccordingly:
    )#    D                                                                                          '
              ate    Lawyer/      H ours Rate Description                               Total
    19               Paralegal
          6/3/05     Piscevich    0.2       $450 Telephonecallwith M r.Herb (clerk $90
    20                                           ofcourt)re:appeal
    21    2/2/06     Piscevich    0.2       $450 Tslephonecallfrom M s.M illsof9tb      $90
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    22
          2/27/06    Piscevich    0.1       $450   Review orderfrom 9tbcircuit          $45
    23    5/1/06     Piscevich    0.1       $450   Rqview lstterfrom .
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    24                                             9taCircult
           3/8/09    Piscevich    2.5       $450   Begin review fororalargum ent         $1,125
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          3/9/09     Piscevich    0.1       $450   Review & reply to em ailfrom clerk   $45
    26                                             ofcourtchanglng tim eoforal
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                     Case 3:04-cv-00703-RAM     Document 356     Filed 05/24/11   Page 25 of 35
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                1     3/9/09     Piscevich    5.5    $450      Continue with review ofdocum ents     $2,475
                2                                              & fileto preparefororalargum ent               ,
                      3/10/09    Piscevich    3.5    $450      Continue with preparation fororal     $1,575
                3                                              argum ent                                      '
                4     3/11/09    Piscevich    3.0    $450      Continue uith review of5le& work      $1,350   I
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                      3/11/09    Piscevich    3.5    $450 Travelfrom AenotoSapFrjmcisco& $1,575
                                                          to hotel& revlew cases ln fllght
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                      3/11/09    Piscevich    l.0    $450      Continue with case review & outline   $450     .
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            *         3/12/09    Piscevich    2.0    $450      Attend argum entat9tbCircuit          $900
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                      3/12/09    Piscevich    3.0     $450     Rem rn from San Francisco to Reno     Sl,350
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                      9/22/05    Piscevich    0.1     $450 Let-teytoVanAsdalewith copyof             $45
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                14                                             correspondenceto R.Cam pbellre
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                15                                                                                            .
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                16                                             Dism issappeal
                17    7/12/05    Lenz         2.5   . $350     Review Opposition to M otion to
                                                                                          .          $875
                                                               Dism issAppeal;legalanalysisand
                18                                             com m ence ilraftReply in support              .

                19    7/l3/05    Lenz         4.5     $350 Continuedlegalanalysisand draft           $1,575   '
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                20                                             and service                                    .
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                25     8/16/05   Lenz         l.0     $350 Telephoneconferencew ith D .              $350     '
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                       9/20/05   Lenz         2.0     $350 Receive and review IGT'Sopening           $700     '
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                28                                              25
                  Case 3:04-cv-00703-RAM     Document 356     Filed 05/24/11     Page 26 of 35
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            13                                          forappeal
            14     8/31/07     Lenz        0.5     $350 Proofarid revise Notice ofAppeal;e-       $175
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            l5     9/10/07     Lenz        1.0     $350 Receive and review Tim eScheduling        $350
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            18                                          rew'ew ExcerptsofRecord                                      '
            19      12/6/07    Lenz        l.0     $350     Com m ence outline ofOpening brief    $350
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            21      12/6/07    Lenz        1.5     $350 P1Jepareforand attend conferepce          $525
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            26                                              Appeal
            27      12/12/07   Lenz        l.0     $350     Continued draft Opening Brief         $350
            28                                               26
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     l     12/13/07   Lenz         2.5        $350     Continued draftOpening Brief         $875
     2     12/15/07   Lenz         4.0        $350     Continued draftOpening Briefon       $1,400
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           12/17/07   Lenz         5.0        $350     Continued draftOpening Brief         $1,750
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     5                                                 Openlng Bnefon Appeal
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     7     12/18/07   Lenz         l.0        $350     Legalanalysisand draftM otion to   $350
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     10    12/21/07 Lenz           3.5        $350     Com pletedraftOpening Briefon        $1,225
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     14    2/18/08    Lenz         2.5        $350 Com m ence yeview and analysisof         $875
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           2/19/08    Lenz         2.5        $350 Continued legalanalysisforReply          $875
     16                                            Brief     '                                       .
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     18    2/26/08    Lenz         8.0 '      $350     com plete draftReply Briefon         $2,800
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           2/27/08    Lenz         3.5        $350     Com plete draA Reply Briefon         $1,225   ;
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8     3/12/09     Lenz         1.5      $350    Review and analysisre oral           $525
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10    9/9/09      Lenz         O.5      $350    Prepare and tile BillofCosts         $175
11    1/9/08      Lenz         1.0      $350    Telephone conference with 9tbcir.    $350
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13     12/26/07   Stark        2,2      $120    Supportand preparation of
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14                                              circuit;m eetw itfidocum ents at
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                                                covers,binding
16     12/27/07   stark        2.5      $120    Continued supportand prepazation
                                                formotionand-exhibitsibr9t:                    !
17                                              Circuit;deliveradditional            $300
                                                docum entsforreproduction;m eet                ,
18                                              w/TotalImageregardingadditional                .
                                                copies,covers;rem rn com pleted
l9                                              copiestooffce;preparefor                       ;
                                                shlpm ent
20
      TOTAL:                                                                     .   $56,524   7
21

22          Plaintiffs'feeaward isnow reduced to $1,009,620 (calculatedbysubtracting $56,524   7
23 from $1,066,144).
24                  d H ours related to dism issed O SH A com plaint
25             IGT argues plaintiffs'fee aw ard should be reduced by 127.8 hours expended in
26 connection with theOSHA complaintthatwasvoluntarily withdrawn.(Doc.# 339 10-11.)
27
28                                               28
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        1     Plaintiffsm aintainl attheyshouldbeabletorecoverthesefeesbecauseSox requiresthecase
        2 becom menced with OSHA.(Doc.# 344 8.)
        3           SOX requiresthefilingofacom plaintbeforetheSecretaryofImborbeforeacom plaint
        4 canbefiled indistrictcourt.18 U.S.C.b 1514A.
                                                     09(1).M oreover,SOX providesreliefforan
                                                                                    .
                                                                                                           :
        5 employeeprevailinginanactionbroughtpursuantto18 U.S.C.j1514A.09(1),whichincludes
        6     a proceedingbeforethe Secretary oflxetboras wellasbefore the districtcourt.fd. Since 18      I
        7 U S.C.j1514A(c)speciso llyreferstosubsection(19(1),anddoesnotlimittherecoveryoffees E
                .

    '
        8 to those incurred in connection with the action dled in the districtcourt,the courtfinds '
        9     Plaintiffsareentitledtorecoverreasonableattorneys'feesincurredin pursuingthecom plaint
        10    before the Secretary oflmbor.
        11                e. H ours related to non-testifying expertChris Com untzis                       :
        12          IGT arguesPlaintiffs'feeaward should bereducedby 37hoursfortimeexpended in             ;
        13    connectionwithexpertChrisCom untzis,whodidnottestifyattrial.(Doc.#33911.)Plaintiffs          ;

        14    assert that they m ay recover these fees because IGT continually asserted that to prove
        15    shareholderfraud,Plaintiffshad to establish thattheAustralian Flyerwasm aterial,and this
        16 wasthepurposeforengagingM r.Com untzis.(Doc.# 344 8-9.)
        l7          Itisundisputed thatSOX allowsthe prevailing party to recoverexpertw itnessfeesas       '
                                                                                                           i
        18 damages.Sce18 U.S.C.j1514A(c).Thecourtisnotawareofanycasedeterminingwhether                     :
                                                                                                           1
        19    expertfeesareallowed underSOX foran expertwho did nottestify attrial,and neitherparty        '
        20 citesanylegalauthorityin supportoftheirposition. SOX doesnotspecificallylimitthe k
                           '
                                                                                                           i
        21    recoveryofexpertuitnessfeestothosewitnesseswhowerecalledattrial.M oreover,thecourt
        22    cannotconcludethatthefeesassociated w ith M r. Com untzisare excessiveorunnecessary.         1
        23     According to Plaintiffs'counsel,M r. Com untzis was designated as an expel-t,testified in   I
        24    deposition,waslisted as an expertV tness fortrial,and wason standby to appearfortrial.       l
        25 (Doc.#344-1at116.)PlaintiffsultimatelymadeastrategicdecisionnottocallM r.Comuntzis '
        26     asawitnessattrial.(fd.)GiventhebroadlanguageofSOX thatPlaintiffsare''entitledtoa1l .
        27 reliefnecessarytomakeEthem)whole,''including'flitigationcosts''and''expertwitnessfees,''
        28                                               29
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        1     thecourtfindsthatPlaintiffsareentitled torecoverthefeesand cost.
                                                                             sincurred in connection
        2     w ith M r.Com untzis,even though he ultim ately wasnotcalled to testify attrial.
        3                  f. H ours for M s. Fenner
        4            IGT atlacksthehoursexpended by M s.Fenneron theground thatPlaintiffsfailed to
        5 providethenecessaly documentarysupportforanytimespentby M s.Fenner.(Doc.# 339
        6 11.)PlaintiffsassertthatrequestingM s.Fenner'shoursisreasonablebec-atlseduringtrial,IGT
        7     hadthreecounselatcounseltable,oneortwo otherattorneysincourt,alongwith oneorm ore
        8 paralegals,and atrialconsultant.(Doc.# 344 9.)
        9           Thecourtrem indsPlaintiffsthatthenum berofattorneysand otherprofessionalsIGT
        10 hadattrialisirrelevanttolo fnllls'motionforfee-s.Nonetheless,thecourtdoesnotfndthe
        l1    hoursexpended by M s.Fennerwereunnecessary,redundant,orexcessive,and declinesto
        12    reducethe feeaward by thisam ount. M s.Fenner'stim e willbe included in thefee award at
        13    thehourly rateof$350,asdeterminedabove.
        14                 g. H oursfor tm related or am biguous item s
        15           IGT contends that the following billing entries appear to be either unrelated or
        16 ambiguousand asa result,46.65 hoursshould be cutfrom Plaintiffs'fee award:9/2/04;
        17 3/4/06;6/12/0696/29/06;11/3/0691/3/07;1/17/07;2/20/07(2);9/2/08;9/9/09;9/15/09; 1
        18 9/21/09;10/15/09;11/17/09(2);11/18/09;11/20/09;3/12/1093/13/1093/15/10;3/10/10; ,
        19 5/7/10;12/7/10;12/28/10;1/7/11;1/9/11(2);and 1/13/11.                                        ,
        20           Iftheprevailingpao failstosubm itadequatedocumentationinsupportofthehours          '
        21    expended,thecourtm ayreducetheaward.S enslcp,461U.S.at433.Inffenslep,theSuprem e          '
        22    Courtobserved,ffcounsel,ofcourse,isnotrequiredto record in greatdetailhow each m inute
        23 ofhistim ewasexpended.Butatleastcounselshould identifythegeneralsubjectmatterof :
        24    histim eexpendim res.''H ensley,461U .S.a1437n.12,433.Thecourthasreviewedthebilling
        25    entriesattackedbyIGT and sndsthatnoneaream biguous,and allappeartoberelatedtothis
        26 matler.(SceDoc.# 323 Ex.1.) Therefore,thecourtwillnotredpcePlaintiffs'feeawardon
        27    thisbasis.
        28                                                30
                      Case 3:04-cv-00703-RAM      Document 356        Filed 05/24/11   Page 31 of 35
e       l . *'                                                                                                      '



    .            1
                 2          5. Conclusion on Fees
                 3          Plaintiffsareentitled to recover$1,009,620 in fees. Thisiscalculated bytaking the
                 4 amountofPlaintiffs'feerequest,$1,237,956,and adjustingthehourlyratesofM r.Lenzand
                 5 M s.Fennerto $350,foratotalof$1,082,776.Thecourtthenreducedthefeestoaccountfor                       '
                 6 thehoursexpended ontheBally litigation ($16,632)and on appeal($56,524).                              '
                 7 B.       COSTS
                 8            It is undisputed thatSOX allows a prevailing em ployee to recover litigation costs.
         .       9     18U.S.C.j1514A(c)(1)(C).Plaintiffseek$135,358.851ncosts.(P1.'sBillofCosts(Doc.#324).)
                 10 IGT objectsonthefollowinggrounds:(1)costsshouldbereducedtoaccountforPlaintiffs'
                 11 limitedsuccess;(2)Plaintiffscannotrecovercostsonappeal;(3)costsrelatedtonon-testifying
                 12 expertChrisComuntzisshould beexcluded;(4)Plaintiffsarenotentitledto specifccosts
                 l3    related to theirunsuccessfulstate1aw claims;and (5)Plaintiffs cannotrecovercost.sfor
                 14    unsubstantiatedin-housecopies.(Doc.#339 16-18.)
                 15         1.    Costs and Plaintiffs'Success
                 16           IGT argues Plaintiffs'costs should be reduced by 5o% to reflect Plaintiffs'lim ited       J
                 17 success.(Doc.# 339 16,18.) M setforth above,thecourtdeclinesto exerciseitsdiscretion                '
                 l8 to reducePlaintiffs'feesand costson thisground.(Seesupra atlII.A.3.)                                1
                 19          2.       Costs on A ppeal
                 20           IGT requeststhatPlaintiffs'costsbereducedby$521.91,forthosecostsincurredfor i
                 21 traveltoand from aNinth Circuithearing.(Doc.# 339 16.)
                                  .
                                                               ''''                                                     '
                                                                                                                        I

                 22           Assetforth above,Plaintiffswererequiredtorequestfeesand cost.son appealw iththe
                                                                                                                        I
                 23 Clerk ofthe Ninth Circuitin thefirstinstance. (Scesupra atllI.A.4(iii).) To theextent j
                                                                                                                        1
                 24    Plaintiffs did requestcosts from the N inth Circuit,and were denied,the courtfindstheir
                 25     request is im proper for this reason as well. Accordingly,Plaintiffs'costs are reduced to       .
                 26     $134,836.94 (calculatedbysubtracting $521.91from $135,358.85).                                  .
                                                                                                                        '
                 27
                 28                                                   31
                                                                                                                     I
                     Case 3:04-cv-00703-RAM      Document 356      Filed 05/24/11    Page 32 of 35
       .
       $   'P
e 'à


                l          3.     Costs R elated to N on-Testifying FaxpertChris Com untzis
                2           IGT argues Plaintiffs'costs billshould be reduced by $63,245.02 for those cost.
                                                                                                          s
                3     associated with expert Chris Com untzis,who did not testify at trial,and therefore w as

                4 unnecessaryand excessive.(Doc.# 339 16-17.)
                5           Forthe reasons setforth above concerning the fees incurred in connection with M r.
                6     Com untzis,the cou/ findsPlaintiffsareentitled to thesecosts.
                7          4.     Costs R elated to U nsuccessflzlState I>w Claim s
                8           IGrfarguesthatPlaintiffs'costsbillshouldbereducedbySsls.os-thosecostsassociated
                9     w ith m edicalexpenses related to theirunsuccessftzlstate 1aw claim forintentionalinfliction   '
                10    ofemotionaldistress.(Doc.#33917.)Thecourthasdeterm inedthatplaintiffs'claim sinvolve
                11    acom m on coresetoffactsandarebasedonrelatedlegaltheories,andtherefore,Plaintiffsare
                12    entitled to recoverthese costs.
                13         5.     Costs for U nsubstantiated In-H ouse Copies
                14           IGT arguesPlaintiffs'costsshouldbereducedby $2,883.00,forunsubstantiated in-
                l5 housecopyfngcosts.(Doc.#33917.)Plaintiffsarguethattheyareentitled,asamatteroflaw, '
                16 to recovertheirlitigationexpenses.(Doc.# 344 16.)                                 '
                17           W'
                              hile Plaintiffsareentitled to litigation costsastheprevailing partyunderSOX,they       :
                18    m ustdocum entorotherwisesubstantiatetheirlitigation costs.W ithoutthisinform ation,the        l
                19    courthasno wayto determ inewhetherthecopyingcostswereinfactincurred.Thecourtwill               .
                                                                                                                     I
                20    notblindlyrely on a referenceto anum berincurred forin-housecopyingcostsw ithoutsom e          L
                                            .                                                                        I
                21    sortofdocum entationordeclarationtosupporttherequest.SincePlaintiffsfailedtoproperly           '
                                                                                                                     !
                22    documenttheirrequestfor$2,883ofin-housecopyingcosts,thecourtwillreducetheircosts               ;
                                                                                                                     r
                23 award accordingly. Plaintiffscostsarereduced to $131,953.94 (calculated by subtracting            .
                24     $2,883from $134,836.94).
                25          6.     Conclusion on Costs
                26           Based on the foregoing and the court's review ofthe costs bill,the courtGnds that
                27     Plaintiffisentitledtorecover$131,953.94 in cost.
                                                                      sreasonablyincurred.Thisiscalculatedby
                28                                                32
                  Case 3:04-cv-00703-RAM     Document 356     Filed 05/24/11    Page 33 of 35
    . '#''
e >'


1
             1 taking Plaintiffs'requestin the amountof $135,358.85 and subtracting costs on appeal
             2 ($52z.91)andunsubstantiatedin-housecopjingcharges($2,883).
             3     C.   PREJU D G M EN T IN TEREST
             4            IGT argtlesthatPlaintiffsshouldnotbeawarded prejudgmentinterestbecausetheir
             5     damageswereprimarilycomprised oftheirlostvalueofunvested stockoptions.(Doc#339
                                                                                                               1
             6     18.)Alternatively,IGTappearstoarguethatanycom putationofprejudgm entinterestshould
             7     notincludestockoptionsatall.(Id.at19.) Plaintiffscounterthatthejuryawarded each of
             8     them 'Tactualdam ages''with no categorizationyand Plaintiffsare entitled to prejudgment
             9 interesttom akethem whole.(Doc.# 344 17-18.)
             l0          W hilelGT arguesthatPlaintiffs'dam ageswereprim arily com prised oftheirlostvalue
             l1 ofunvestedstockoptionssol atprejudgm entinterestshouldnotbeawarded,thecourtcannot
             12 com eiothisconclusion.PlaintiffsarecorrectinpointingoutthatthejuryawardedPlaintiffs ,
             13    actualdam ages,withoutcategorization. W hile the am ountofactualdam ages awarded to
             14    Shawn Van M dale appearsto reflectthe am ountoffered by Plaintiffs'expel'tattrialforhis
             15 unvestedstockoptions,thecourtcannotnow substituteitsjudgm entforthatofthejuly in
             l6    determ iningwhatam ountofthetotaldam agesawardisallocatedto each categoryofdam ages
             17    soughtby Plaintiffs. M oreover,with respectto Lena Van Asdale,IGT'S opinion that her
             18    dam ages are prim arily com prised ofthe lost value of unvested stock options is entirely
             19 speculativebecausethejul sim plyawardedheractualdam agesintheam ountof$1,270,303,
             20    w ithoutcategorizingherdam ages.Thecourtw illnotentertain IGT'Srequestto gtzesswhich        .
             21 portion ofthejury'sdam agesaward iscomprisedofthelostvalueofunvested stockoptions,
             22 especiallywhen lGT did notobjecttotheverdictform .
             23        Plaintiffs,asprevailingparty,areentitledtorecoverprejudgmentinterestaspartofthe
             24 backpayremedyunderSox.18 U.S.C.j1514A(c)(B).''Prejudgm entinterest,ofcourse,isan
             25 elementofcompletecompensation.''Loef er1J.Frank,486U.S.549.558 (1988)(internal
             26 quotationmarksandcitationomitled)(fndingthatr
                                                            fitleW lauthorizesprejudgmentinterest l
             27 aspartofbackpayremedyinsuitsagainstprivateem ployers).Itffservestocompensatefor
             28                                              33
                 Case 3:04-cv-00703-RAM     Document 356         Filed 05/24/11   Page 34 of 35
    1 %%*


            1 thelossofuseofmoney dueasdamagesfrom thetim etheclaim accruesuntiljudgm entis
     '
            2 entered.'' G csrVirginia r.United States,479 U.S.305,311fn.2 (lg8xtcitation omitled).
            3 GiventheSOX'sspecifcreferencetoanawardofprejudgmentinterestandthedirectionthat
            4     Plaintiffs,asprevailing party be awarded al1reliefnecessary to m akethem whole,18 U .S.C.
            5 j1514A(c),thecourtfndsPlaintiffsareentitledtoanawardofprejudgmentinterest.
            6      ThecourtagreeswithPlaintiffsthatprejudgmentinterestonbackpayawardedshould
            7 be calculated in accordance with 29 C.F.R.j2O.58(a),atthe rate specifed in the Internal
            8     RevenueCode,26 U .S.C.j6621.Generally,theunderpaym entrateisthesum oftheFederal
.           9 short-term rate plus 3 percentage points. 26 U.S.C.j 6221(a)(2). A fflarge corporate
            10    underpaym ent''isd'anyunderpaym entofataxbya C corporation fpranytaxableperiod ifthe
            11    am ountofsuchunderpaym entforsuchperiodexceedsSloo,ooo.'
                                                             .           '26U.S.C.j6621(c)(3)(A).
            l2    Forlargecorporate underpaym ents,therateisthe Federalshort-term rateplusspercentage
            13 points.26U.S.C.j6621(c).1GT doesnotdisputethatthelargecorporateunderpaymentrate
            14    applies,as Plaintiffs suggest. The Federalshort-term rate is Tfrounded to the nearestfull
            l5 percent(or,ifamultipleof1/2of1percent,such rateshallbeincremsed to thenexthighest
            16 ftl11percentl.''26 U.S.C.b6621* )(3).
            17        In the absence ofany objection by lGT thatthelarge corporate underpaym entrate k
            18 applies,thecourtfindsthatprejudgmentinterestinthismatteriscalculatedusingtheFederal :
                                                                                                              1
            19 short-term rate,plus5percentagepoints.26 U.S.C.!6621(c)(3)(A).Tllecourttakesjudicial
            20 notice ofthe Federalshort-term rates and adds 5 percentage points for a large corporate        ,
                                                                                                              r
            21 underpayment,assetforth in Exhibit7to Plaintiffs'm otion.(Doc.# 323 Ex.7.)                     i
            22       PlaintiffshawnVanAsdaleisawardedprejudgm entinterestfrom histerminationdate              !
            23 ofFebnlary11,2004,untilthedatejudgmentwasentered,February9,2011)intheamountof
                                                                                               i
            24 $552,418.62.PlaintiffLenaVanAsdaleisawardedprejudgmentinterestfrom herterminate '
            25 dateofM arch 15,2004,untilthedatejudgmentwasentered,Febnlary9,2011,intheamount '
            26 of$723,347.90.
            27 ///
                                                      l
            28                                               34
                Case 3:04-cv-00703-RAM   Document 356    Filed 05/24/11   Page 35 of 35                  I
                                                             .                                           l
.   A. 1


            l D.      TO TAL C AT,
                                 C U IA TIO N
           2           lnsum ,thecourtfndsthatthetotalamountofattorneys'feesawardedis$1,009,620.
           3 Thetotalamountofcostsawardedis$131,953.94.Thetotalamountofprejudgm entinterest
           4 awardedis$1,275,766.50 ($552,418.62to Shawn and $723,347.90to Lena).Tberefore,the
           5 totalawardofattorneys'fees,costs,andprejudgmentinterestis$2,417,340.40.
           6           ThecourtordersIGT topaytheamountof$2,417,340.40to Plaintiffsno laterthan
           7 thirty(30)daysfrom thedateofthisorder.
           8                                    lV . CO N CLU SIO N
           9          IT IS H ER EBY O RD ER ED thatPlaintiffs'M otion forAttorneys'Fees,Costs,and
           10 Prejudgm entinterest(Doc.#323-327)isGRANTED assetoutlined above.
           11      IT IS H EREBY FLFItTHER ORIAEII- ED thatPlaintiffs'M otiontoStrike(Doc.#354)
           12    isD EN IED .
           13        DATED : M ay 24,2011.
           14
           15
                                                   UNITED STATES M AGISTM TE JUDGE
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           28                                           35
